               Case 2:20-cr-00169-RAJ Document 25 Filed 10/19/20 Page 1 of 2




1                                                               The Honorable Richard A. Jones
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                             UNITED STATES DISTRICT COURT FOR THE
9                              WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
10
11     UNITED STATES OF AMERICA,                          NO. CR20-169RAJ
12                             Plaintiff,
                                                          ORDER
13
                        v.
14
       BAOKE ZHANG,
15
                               Defendant.
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17
            THE COURT has considered the joint motion to proceed with arraignment and
18
     guilty plea hearing by video or telephonic hearing, along with all the records and files in
19
     this case and the General Orders currently in effect.
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            THE COURT FINDS that the circumstances are as set forth in the parties’ motion
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     and that a video or telephonic arraignment and guilty plea hearing may take place as soon
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     as practical because further delays in this case would cause “serious harm to the interests
23
     of justice,” see General Order No. 04-20, for the reasons set forth in the parties’ joint
24
     motion. Accordingly,
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            THE COURT ORDERS that the parties may proceed with an arraignment and plea
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     hearing by telephone and/or video conference, consistent with current procedures
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28

      ORDER - 1
      U.S. v. Baoke Zhang, CR 20-169RAJ
              Case 2:20-cr-00169-RAJ Document 25 Filed 10/19/20 Page 2 of 2




1 established by this Court, and directs the parties to consult with one another and the
2 criminal-duty magistrate judge to schedule such a hearing at a mutually acceptable date
3 and time.
4
5          DATED this 19th day of October, 2020.
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7                                                   A
8                                                   The Honorable Richard A. Jones
9                                                   United States District Judge
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     ORDER - 2
     U.S. v. Baoke Zhang, CR 20-169RAJ
